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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


    CHAMBER OF COMMERCE OF
    THE UNITED STATES OF
    AMERICA; FORT WORTH
    CHAMBER OF COMMERCE;
    LONGVIEW CHAMBER OF
    COMMERCE; AMERICAN
    BANKERS ASSOCIATION;
    CONSUMER BANKERS
    ASSOCIATION; and TEXAS
    ASSOCIATION OF BUSINESS,

         Plaintiffs,

    v.                                                  Case No.: 4:24-cv-213-P

    CONSUMER FINANCIAL PROTECTION
    BUREAU; and ROHIT CHOPRA, in his
    official capacity as Director of the Consumer
    Financial Protection Bureau,

         Defendants.


         DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
            THEIR MOTION TO DISMISS OR TRANSFER UNDER 28 U.S.C. § 1406

            Defendants the Consumer Financial Protection Bureau and Rohit Chopra (collectively,

the Bureau) respectfully submit this notice of a new persuasive authority that supports their

motion to dismiss or transfer under 28 U.S.C. § 1406, ECF No. 94. 1 In that motion, the Bureau



1
  The Bureau’s request for transfer or dismissal under § 1406 remains pending, notwithstanding
this Court’s and the Fifth Circuit’s resolution of its alternative request for transfer under 28
U.S.C. § 1404. In its recent mandamus opinion, the Fifth Circuit expressly noted it was not
addressing the Bureau’s arguments under § 1406 and was not “decid[ing] whether venue is
proper in the Northern District of Texas.” In re Chamber of Com., No. 24-10463, 2024 WL
3042100, at *3 n.22 (5th Cir. June 18, 2024). Plaintiffs have not yet responded to that motion,
and the Bureau files this notice of supplemental authority now so that Plaintiffs may have an
opportunity to address this authority when they respond to the motion.
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contended that venue is improper in this district because the Fort Worth Chamber of

Commerce—the Plaintiffs’ primary hook for venue here—does not have associational standing

to bring this suit. See Br. in. Supp. of Renewed Transfer Mot. at 15–19 (May 28, 2024), ECF No.

95 (“Transfer Br.”).

       On June 13, Justice Thomas issued a concurring opinion about associational standing in

FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367, 144 S. Ct. 1540, 1565–71 (2024)

(Thomas, J., concurring), a case addressing a membership association’s standing to challenge

certain regulatory actions. That concurrence raises serious concerns about associational standing,

including whether it “can be squared with Article III’s” limitations on judicial power. Id. at 1571.

Justice Thomas explained that associational standing “seems to run roughshod over” the

“traditional understanding” that “private parties could not bring suit to vindicate the . . . rights

of” others “who are not before the court.” Id. at 1566. And it “distorts” the “traditional

understanding” that, for standing to exist, the court “must be able to provide a remedy that can

redress the plaintiff’s injury.” Id. at 1567–68 (cleaned up, emphasis in original). Beyond those

foundational concerns, Justice Thomas highlighted several other problems with associational

standing, including that it “allows a party to effectively bring a class action without satisfying

any of the ordinary requirements” and subverts ordinary preclusion principles and thus

potentially “allow[s] a member two bites at the apple.” Id. at 1568–69.

       Justice Thomas’s concurrence underscores why the Court should not allow Plaintiffs here

to dramatically expand associational standing, beyond even what’s allowed by the precedent

Justice Thomas criticized in his concurrence. As the Bureau explained in its § 1406 motion,

although some Plaintiffs in this case satisfy the prevailing test for associational standing, the Fort

Worth Chamber—the sole Plaintiff who could allege venue here—flunks a key requirement of



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the associational standing test: that the interests the association seeks to protect be “germane to

the organization’s purpose,” Students for Fair Admis., Inc. v. President & Fellows of Harvard Coll.,

600 U.S. 181, 199 (2023). See Transfer Br. at 15–19. The Fort Worth Chamber’s stated purpose is

to build “a thriving business climate in the Fort Worth region.” Montgomery Decl. in Supp. of PI

¶ 4, PI App’x at 21, ECF No. 5. But the interests it seeks to protect in this litigation are the

interests of large card issuers to charge higher late fees. Not one such card issuer is based in (or

even near) Fort Worth. If the germaneness requirement is to have any meaning, protecting those

out-of-state issuers’ interests cannot be deemed “germane” to the Fort Worth Chamber’s Fort

Worth-focused mission for Article III purposes. Allowing the Fort Worth Chamber to bring this

suit—and secure venue in this Court—would stretch associational standing beyond even the

limits in place now.

       The Chamber of Commerce has elsewhere complained that this Court’s consideration of

whether to transfer this case out of Fort Worth “nearly thwarted [them] from having their case

adjudicated where Congress deemed appropriate.” 2 They have that wrong. Congress didn’t deem

the Northern District of Texas an appropriate venue for this suit—no plaintiff with standing

resides here, and (as the Bureau explained in its pending motion) the events or omissions giving

rise to Plaintiffs’ claims did not occur here. Plaintiffs’ complaints about needing to brief venue

ignore that, as this Court has previously recognized, this case does not belong in the Northern

District of Texas, and certainly not in Fort Worth. Because venue is improper in the Northern

District—and because holding otherwise would improperly stretch the bounds of associational




2
 See Br. of U.S. Chamber of Com. as Amicus Curiae at 9, In re MCP No. 185: FCC, In the
Matter of Safeguarding and Securing the Open Internet, No. 24-7000 (6th Cir. June 24, 2024),
ECF No. 48, https://www.uschamber.com/assets/documents/U.S.-Chamber-Amicus-Brief-In-re-
MCP-No.-185-Open-Internet-Rule-Sixth-Circuit.pdf.
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standing and transgress Article III’s limits—the Court should dismiss the case or transfer it to a

proper venue under § 1406.

DATED: July 8, 2024                                  Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify on July 8, 2024, a true and correct copy of this document was served

electronically by the Court’s CM/ECF system to all counsel of record.


                                                    /s/ Stephanie B. Garlock
                                                    STEPHANIE B. GARLOCK
